Case 2:20-cv-07877-MWF-PD Document 15 Filed 10/20/20 Page 1 of 1 Page ID #:75




1    CENTER FOR DISABILITY ACCESS
     Ray Ballister Jr., Esq., SBN 111282
2    Russell Handy, Esq., SBN 195058
     Dennis Price, Esq., SBN 279082
3    Amanda Seabock, Esq., SBN 289900
     8033 Linda Vista Road, Suite 200
4    San Diego, CA 92111
     (858) 375-7385; (888) 422-5191 fax
5    AmandaS@potterhandy.com

6    Attorneys for Plaintiff, BRIAN WHITAKER
7
8                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
9
10   BRIAN WHITAKER,                           )     Case No.: 2:20-cv-07877-MWF-PD
                                               )
             Plaintiff,                        )
11      v.                                     )     NOTICE OF SETTLEMENT AND
                                               )     REQUEST TO VACATE ALL
12   J PETERSON PROPERTY, LLC, a               )     CURRENTLY SET DATES
     California Limited Liability Company;     )
13   PETERSON ENTERPRISES, LLC, a
     California Limited Liability Company; and )
14   Does 1-10,                                )
                                               )
15           Defendants.                       )
            The plaintiff hereby notifies the court that a provisional settlement has been
16
     reached in the above-captioned case. The Parties would like to avoid any additional
17
     expense while they focus efforts on finalizing the terms of the settlement and reducing it
18
     to a writing.
19
            The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
20
     dates with the expectation that the settlement will be consummated within the coming
21
     sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
22
     parties to be filed.
23
                                      CENTER FOR DISABILITY ACCESS
24
25
     Dated: October 20, 2020          By: /s/ Amanda Seabock
26                                           Amanda Seabock
27                                           Attorney for Plaintiff
28


     Notice of Settlement             -1-               2:20-cv-07877-MWF-PD
